
40 So. 3d 1194 (2010)
Dorothy Marie SIMMONS
v.
GOVERNMENT EMPLOYEES INSURANCE COMPANY, et al.
No. CA 09-1328.
Court of Appeal of Louisiana, Third Circuit.
June 2, 2010.
Otis Edwin Dunahoe, Jr., Dunahoe Law Firm, Natchitoches, LA, for Appellee, Barbara Raymond.
Jeffrey Howerton Thomas, Thomas Law Firm, Natchitoches, LA, for Plaintiffs/Appellees, Brandon Raymond, Randon Raymond.
Edward M. Campbell, Special Assistant Attorney General, Natchitoches, LA, for Defendant/Appellant, Louisiana State Department of Transportation and Development.
Court composed of SYLVIA R. COOKS, BILLY HOWARD EZELL, and J. DAVID PAINTER, Judges.
EZELL, Judge.
For the reasons assigned in the companion case of Raymond v. Gov't Employees Ins. Co., et al., 09-1327 (La.App. 3 Cir. 6/2/2010), 40 So. 3d 1179, in which a separate decision has been rendered, the judgment of the trial court is affirmed. Court costs in the total amount of $2,912.74 are assessed to the Louisiana State Department of Transportation and Development.
AFFIRMED.
